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                        UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OKLAHOMA

USA
                                          Plaintiff(s),      Case Number: 09-CR-043-JHP

vs.                                                          Proceeding: Motion Hearing

Lindsey Springer, Oscar Stilley                              Date: 7/1/2009
                                        Defendant(s).

                                                MINUTE SHEET

 Stephen P Friot, U.S. District Judge             P. Lynn, Deputy Clerk       Tracy Washbourne, Reporter

Counsel for Plaintiff: Ken Snoke, Charles O’Reilly
Counsel for Defendant: Pro se, standby counsel Robert Burton, Robert Scott Williams (CJA)


Minutes: Case called for Motion hearing. Rule of Sequestration invoked.
Argument and testimony heard on Shern’s affidavit.
Springer’s Motion to Suppress (#74) and Franks Hearing (#77) argued and denied.
Stilley’s Motion to Suppress (#72) argued and denied.
Govt’s Motion to Quash (#94) found moot.
Springer’s Motion for Bill of Particulars (#82) argued and granted in part (counts 2, 3, 5, 6),
denied in part. Government directed to file Bill of Particulars within 14 days.
Motions to Dismiss (#51, 53, 55, 57, 59, 61, 63, 65, 67, 69) Denied


Govt Exhibit
#1 - Affidavit for Search Warrant of Brian Shern (missing page 18)
#2 - Affidavit of Brian Shern (copy of #1)
Deft Exhibit
#1 - Affidavit of Brian Shern (obtained from Clerk’s office)
Defendant Springer Witness
Brian M Shern - 9:35


Exhibits retained by Court. Case remains on current schedule.


                                                    Court Time
                                             8:55-10:40        1:05-2:05
                                            10:55-12:00        2:20-2:55
